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                      Exhibit A
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                                           Civil Harassment Restraining                               Clerk stamps date here when form is filed.
       CH-130                              Order After Hearing
        Person in (T) must complete items (?)                     , and @ only.                                FILED
                                                                                                            SAN MATEO COUNTY
         Protected Person
         a. Your Full Name: MICHAEL GOGUEN
                                                                                                                     MAR -6 2023
               Your Lawyer (ifyou have one for this case)
               Name: DIANE DOOLITTLE State Bar No.: 142046
            Finn Name: QUINN EMANUEL URGUHART & SULLIVAN, LLP
         b. Your Address (Ifyou have a lawyer, give your lawyer's information.
            Ifyou do not have a lawyer and want to keep your home address                             Fill in court name and street address:
            private, you may give a different mailing address instead. You do not                      Superior Court of California, County of
            have to give telephone, fax, or email.)                                                    SAN MATEO
               Address: 555 TWIN DOLPHIN DR. STH FLOOR                                                 400 COUNTY CENTER
               City: REDWOOD SHORES State: CA Zip: 94065                                               REDWOOD CITY, CA 94063
               Telephone: ('6501 801 5000                          Fax: ('6501 801 5100
               Email Address: DIANEDOOLITTLE(S>OU1NNEMANUEL.COM                                       Court fills in case number when form is filed.

         Restrained Person                                                                             Case Number:
         (Give all the information you know. Information with a star (*) is required CIV537691
         to add this order to the California police database. If age is unknown.
         give an estimate.)
           *Full Name: AMBER LAUREL BAPTISTE *Age:                                                              Date of Birth:       10/18/1980
            *Race: bL                                      Height: 5 ft 7 in Weight: 120 lbs Hair Color: Brown               Eye Color: Brown
            *Gender:               M        0 F        O Nonbinary Home Address:
            City: Los Angeles State: CA Zip:
            Relationship to Protected Person: NONE

 3^            Additional Protected Persons
         In addition to the person named in (?), the following family or household members of that person are protected by
         the orders indicated below:
                            Full Name                     Gender Age        Lives with you? How are they related to you?
          JAMIE STEPHENSON GOGUEN                                 ____     F       40         0 Yes          No     WIFE
                                                                                          _     Yes          No
                                                                                                Yes          No
          ______________________________________________ ________                               Yes          No _________________________
                Check here if there are additional persons. List them on an attached sheet ofpaper and write “Attachment 3—
                Additional Protected Persons ’’ as a title. You may use form MC-025, Attachment.
          Expiration Date
           This Order, except for any award of lawyer’s fees, expires at

             Time:                                        a.m.     p.m.     midnight on (date):

          If no expiration date is written here, this Order expires three years from the date of issuance.
                                                                  llhis is a Court Order.!
Judicial Council of California, vyww.courts.ca.go'j
                                                      Civil Harassment Restraining Order After Hearing                              CH-130, Page 1 of 6
Rev. January 1,2023, Mandatory Form
Code of Civil Procedure. §§ 527.6 and 527.9
Approved by DOJ                                                        (CLETS-CHO)
                                                                   (Civil Harassment Prevention).
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(J) Hearing
        a. There was a hearing on (date): 03/06/2023            at (time): 9 A.M.          in Dept.;17      Room; 2K
          (Name ofjudicial officer): JUDGE ELIZABETH K. LEE                           made the orders at the hearing.
       b. These people were at the hearing:
             (1)       The person in(?). (3) ® The lawyer for the person in (£) (name): DIANE DOOLITTLE
             (2)       The person in(4)           The lawyer for the person in @ (name):
             n Additional persons present are listed at the end of this Order on Attachment 5.
        c. Q The hearing is continued. The parties must return to court on (date):at (time):.
                                                      To the Person in
The court has granted the orders checked below. If you do not obey these orders, you can be arrested
and charged with a crime. You may be sent to jail for up to one year, pay a fine of up to $1,000, or both.

        0 Personal Conduct Orders
        a. You must not do the following things to the person named in (?)
             0 and to the other protected persons listed in (^:
             (1) 0 Harass, intimidate, molest, attack, strike, stalk, threaten, assault (sexually or otherwise), hit, abuse,
                    destroy personal property of, or disturb the peace of the person.
             (2) [3 Contact the person, either directly or indirectly, in any way, including, but not limited to, in person, by
                    telephone, in writing, by public or private mail, by interoffice mail, by email, by text message, by fax,
                    or by other electronic means.
              (3)      Take any action to obtain the person’s address or location. If this item (3) is not checked, the court has
                       found good cause not to make this order.
              (4)      Other (specify):
                           Other personal conduct orders are attached at the end of this Order on Attachment 6a(4).


        b. Peaceful written contact through a lawyer or process server or other person for service of legal papers related to
           a court case is allowed and does not violate this Order.
(7) 0 Stay-Away Orders
         a. You must stay at least    50             yards away from (check all that apply):
            (1) 0 The person in (?) .                          (7)      The place of child care of the children of
              (2) 0 Each person in (^.                                  the person in (?) .
              (3) 0 The home of the person in (?) .            (8) 0 The vehicle of the person in (?).
              (4) 0 The job or workplace of the person         (9)      Other (specify):
                    in(D-
              (5)      The school of the person in (?).
              (6)      The school of the children of the
                       person in(?).

         b. This stay-away order does not prevent you from going to or from your home or place of employment.
                                                     This is a Court Order.
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                                                                                                611/             I, Q I



        No Firearms (Guns), Firearm Parts, or Ammunition
        a. You cannot own, possess, have, buy or try to buy, receive or try to receive, or in any other way get any
           prohibited items listed below in b.
       b. Prohibited items are:
          (1) Firearms (guns);
             (2) Firearm parts, meaning receivers and frames, or any item that may be used as or easily turned into a receiver
                 or frame (see Penal Code section 16531); and
             (3) Ammunition.
         c. If you have not already done so, you must:
             .     Within 24 hours of being served with this Order, sell to or store with a licensed gun dealer, or turn in to a
                   law enforcement agency, any firearms (guns) and firearm parts in your custody or control or that you
                   possess or own.
             •     File a receipt with the court within 48 hours of receiving this Order that proves that your firearms (guns) and
                   firearm parts have been turned in, sold, or stored. (You may use Receipt for Firearms and Firearm Parts
                   (foim CH-800) for the receipt.)
        d.         The court has received information that you own or possess a firearm (gun), firearm parts, or ammunition.
        e. D The court has made the necessary findings and applies the firearm relinquishment exemption under Code of
             Civil Procedure section 527.9(f). Under California law, the person in@ is not required to relinquish this
             firearm (specify make, model, and serial number offirearm(s)f

                   The firearm must be in his or her physical possession only during scheduled work hours and during travel to
                   and from his or her place of employment. Even if exempt under California law, the person in@ may be
                   subject to federal prosecution for possessing or controlling a firearm.

             Lawyer's Fees and Costs
        The person in             must pay to the person in       the following amounts for
                 lawyer’s fees               costs:
                           Item                       Amount                          Item                         Amount
                                         ____     $______________      _                                    $_
                                                  $                                                         $
                 Additional items and amounts are attached at the end of this Order on Attachment 9.

@                Possession and Protection of Animals
        a.            The person in (T)is given the sole possession, care, and control of the animals listed below, which are
                      owned, possessed, leased, kept, or held by him or her, or reside in his or her household.
                      (Identify animals by, e.g., type, breed, name, color, sex.)




        b.            The person in@ must stay at least           yards away from, and not take, sell, transfer, encumber, conceal,
                      molest, attack, strike, threaten, harm, or otherwise dispose of, the animals listed above.

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                                                                                                   0y£11611
:'i r: H Other Orders (spscify):




              [3 Additional orders are attached at the end of this Order on Attachment 11.

                                                           To the Person in
        Mandatory Entry of Order Into CARPOS Through CLETS
        This Order must be entered into the California Restraining and Protective Order System (CARPOS) through the
        California Law Enforcement Telecommunications System (CLETS). (Check one):
        a.             The clerk will enter this Order and its proof-of-service form into CARPOS.
        b.          The clerk will transmit this Order and its proof-of-service form to a law enforcement agency to be entered
                    into CARPOS.
        c.          By the close of business on the date that this Order is made, the person in (T) or his or her lawyer should
                    deliver a copy of the Order and its proof-of-service form to the law enforcement agency listed below to
                    enter into CARPOS:
                              Name of Law Enforcement Agency                               Address (City, State. Zip)



                           Additional law enforcement agencies are listed at the end of this Order on Attachment 12.

        Service of Order on Restrained Person
        a. Q The person in(^ personally attended the hearing. No other proof of service is needed.
        b. 0 The person in                did not attend the hearing.
              (1)           Proof of service of form CH-110, Temporary Restraining Order, was presented to the court. The
                       '    judge’s orders in this form are the same as in form CH-110 except for the expiration date. The person in
                             @ must be served with this Order. Service may be by mail.

              (2            rhe judge’s orders in this form are different from the temporary restraining orders in form CH-110.
                            Someone—but not anyone in(T) or (^—must personally serve a copy of this Order on the person
                            in®, av-

               No Fee to Serve (Notify) Restrained Person
         The sheriff or marshal will serve this Order without charge because:
         a.            The Order is based on unlawful violence, a credible tlifeat of violence, or stalking.
         b.            The person in (T) is entitled to a fee waiver.
         Number of pages attached to this Order, if any:

Date: 3/6/2023

                                                                                               Judicial Officer


                                                           This is a Court Order.
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                             iWarning'and Notice to the Restrained Person in

You Cannot Have Firearms (Guns), Firearm Parts, or Ammunition
Unless item 8e is checked, you cannot own, have, possess, buy or tiy to buy, receive or try to receive, or otherwise get any
prohibited items listed in item 8b on page 3 while this Order is in effect. If you do, you can go to jail and pay a $1,000
fine. You must sell to or store with a licensed gun dealer, or turn in to a law enforcement agency, any firearms (guns) and
firearm parts that you have or control as stated in item (s) above. The court will require you to prove that you did so.



                                         Insfructionsfbr Law Enforcement


Enforcing the Restraining Order
This Order is enforceable by any law enforcement agency that has received the Order, is shown a copy of the Order, or
has verified its existence on the California Restraining and Protective Order System (CARPOS). If the law enforcement
agency has not received proof of service on the restrained person, and the restrained person was not present at the court
hearing, the agency must advise the restrained person of the terms of the Order and then must enforce it. Violations of
this Order are subject to criminal penalties.

Start Date and End Date of Orders
This Order starts on the date next to the judge’s signature on page 4 and ends on the expiration date in item(4)on page 1.

Arrest Required If Order Is Violated
If an officer has probable cause to believe that the restrained person had notice of the order and has disobeyed it, the
officer must airest the restrained person. (Pen. Code, §§ 836(c)(1), 13701(b).) A violation of the order may be a violation
of Penal Code section 166 or 273.6. Agencies are encouraged to enter violation messages into CARPOS.

Notice/Proof of Service
The law enforcement agency must first determine if the restrained person had notice of the order. Consider the restrained
person “served” (given notice) if (Pen. Code, § 836(c)(2)):
•      The officer sees a copy of the Proof of Service or confirms that the Proof of Service is on file; or
•      The restrained person was at the restraining order hearing or was informed of the order by an officer.
An officer can obtain information about the contents of the order and proof of service in CARPOS. If proof of service on
the restrained person cannot be verified and the restrained person was not present at the court hearing, the agency must
advise the restrained person of the terms of the order and then enforce it.

If the Protected Person Contacts the Restrained Person
Even if the protected person invites or consents to contact with the restrained person, this Order remains in effect and
must be enforced. The protected person cannot be airested for inviting or consenting to contact with the restrained person.
The orders can be changed only by another court order. (Pen. Code, § 13710(b).)



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Conflicting Orders—Priorities for Enforcement
If more than one restraining order has been issued protecting the protected person from the restrained
person, the orders must be enforced in the following priority (see Pen. Code, § 136.2 and Fam. Code,
§§ 6383(h)(2), 6405(b)):
    1. Emergency Protective Order (EPO): If one of the orders is an Emergency Protective Order (form EPO-OOl),
        provisions (e.g., stay-away order) that are more restrictive than in the other restraining/protective orders must be
        enforced. Provisions of another order that do not conflict with the EPO must be enforced.
    1. No-Contact Order: If a restraining/protective order includes a no-contact order, the no-contact order must be
        enforced. Item 6a(2) is an example of a no-contact order.
    3. Criminal Protective Order (CPO): If none of the orders include an EPO or a no-contact order, the most recent
        CPO must be enforced. (Fam. Code, §§ 6383(h)(2) and 6405(b).) Additionally, a CPO issued in a criminal case
        involving charges of domestic violence. Penal Code sections 261, 261.5, or former 262, or charges requiring sex
        offender registration must be enforced over any civil court order. (Pen. Code, § 136.2(e)(2).) All provisions in the
        civil court order that do not conflict with the CPO must be enforced.
    4. Civil Restraining Orders: If there is more than one civil restraining order (e.g., domestic violence, juvenile, elder
        abuse, civil harassment), then the order that was issued last must be enforced. Provisions that do not conflict with
        the             civil restraining order must be enforced.



                                              (Clerk willfill out this part.)
                                              —Clerk’s Certificate—

                              I certify that this Civil Harassment Restraining Order After Hearing is a true and
                              correct copy of the original on file in the court.
                                                                                                TANSGUCH?
                         Date:             ” § 2023       Clerk, by                                      ____ , Deputy




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                                        Attachment 11
            Baptiste is restrained from repeating the following false and defamatory statements,
   under her own name or under any pseudonym, that she has previously made in her social media
   posts:
   (1)      Goguen purchased Baptiste when she was a young girl from an organized crime
   syndicate;
   (2)      Goguen raped, sodomized, or abused Baptiste or any other women;
   (3)      Goguen infected Baptiste or any other women with a sexually transmitted disease,
   including HPV;
   (4)      Goguen kept Baptiste as a sex slave;
   (5)      Goguen tore, ruptured, or perforated Baptiste's anal canal during sex, or that he left her
   bleeding and unable to evacuate her bowels;
   (6)      Goguen stalked or harassed Baptiste or any other persons.
   (7)      Goguen engaged in human trafficking, sex trafficking, sex slavery, or child sex tourism;
   (8)      Goguen is a pedophile, psychopath, pervert, or sexual deviant;
   (9)      Goguen forced numerous women to have abortions;
   (10)     Goguen committed or solicited murder;
   (11)     Goguen bribed the Court, attorneys, or law enforcement;
   (12)     Goguen tampered with evidence to hide his crimes;
   (13)     Goguen married multiple prostitutes;
    (14)    Goguen committed tax evasion or tax fraud;
    (15)    Goguen silenced victims through nondisclosure agreements or any other means;
    (16)    Jamie Goguen is a prostitute;
    (17)    Jamie Goguen cyberbullies Baptiste or any other rape or trafficking victim; and
    (18)    Jamie Goguen instructs her friends to make false social media posts about Baptiste.


            Notwithstanding the above, Baptiste is not restrained from presenting her grievance to
    government officials.
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                                  #:1993
Case 2:23-cv-02280-MEMF-SK Document 10-3 Filed 04/13/23 Page 82 of 107 Page ID
                                  #:1994
Case 2:23-cv-02280-MEMF-SK Document 10-3 Filed 04/13/23 Page 83 of 107 Page ID
                                  #:1995
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                                  #:1996
Case 2:23-cv-02280-MEMF-SK Document 10-3 Filed 04/13/23 Page 85 of 107 Page ID
                                  #:1997
Case 2:23-cv-02280-MEMF-SK Document 10-3 Filed 04/13/23 Page 86 of 107 Page ID
                                  #:1998
Case 2:23-cv-02280-MEMF-SK Document 10-3 Filed 04/13/23 Page 87 of 107 Page ID
                                  #:1999
Case 2:23-cv-02280-MEMF-SK Document 10-3 Filed 04/13/23 Page 88 of 107 Page ID
                                  #:2000
Case 2:23-cv-02280-MEMF-SK Document 10-3 Filed 04/13/23 Page 89 of 107 Page ID
                                  #:2001
Case 2:23-cv-02280-MEMF-SK Document 10-3 Filed 04/13/23 Page 90 of 107 Page ID
                                  #:2002
Case 2:23-cv-02280-MEMF-SK Document 10-3 Filed 04/13/23 Page 91 of 107 Page ID
                                  #:2003
Case 2:23-cv-02280-MEMF-SK Document 10-3 Filed 04/13/23 Page 92 of 107 Page ID
                                  #:2004
Case 2:23-cv-02280-MEMF-SK Document 10-3 Filed 04/13/23 Page 93 of 107 Page ID
                                  #:2005
Case 2:23-cv-02280-MEMF-SK Document 10-3 Filed 04/13/23 Page 94 of 107 Page ID
                                  #:2006
Case 2:23-cv-02280-MEMF-SK Document 10-3 Filed 04/13/23 Page 95 of 107 Page ID
                                  #:2007




                       Exhibit D
     Case 2:23-cv-02280-MEMF-SK Document 10-3 Filed 04/13/23 Page 96 of 107 Page ID
                                       #:2008



                               SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                       IN AND FOR THE COUNTY OF SAN MATEO


       AMBER LAUREL BAPTISTE,                                         Case No:   CIV 537691
                                                                  g
                              Plaintiff,                          ) ORDER DENYING CROSS-DEFENDANT
                                                                  ) AMBER LAUREL BAPTISTE’S MOTION
                v.                                                ) TO VACATE; GRANTING 1N' PART AND
                                                                  ) DENYING IN PART           CRoss-
            .
                                                                                                           GOGUEN S
                                                                                                                 3

       MICHAEL GOGUEN and DOES              1   through 100           §%¥%§ITNOA§I§A¥ICHAEL
                                   ‘                              g
       inclusive,              .                                  )
                              Defendant.
                                                                  3
                                                                  )
                                                                  )
10
       MICHAEL GOGUEN,
                                                                  3
ll
                              Cross-Complainant,
                                                                  3
12
                v.                                                )
                                                                  )
l3                                                                )
       AMBER LAUREL BAPTISTE, EVERY GIRL                          )
l4     COUNTS,    a California Corporation, and     ROES      1   )
       through 10 inclusive,                                      )
15
                                                                  )
                              Defendants.                         )
l6                                                                )
l7

18              Plaintiff and Cross-Defendant Amber Laurel Baptiste’s Motion to Vacate Default and Default
19     Judgment (Motion to Vacate) and Defendant and Cross-Complainant Michael Goguen’s unopposed
20     Motion for an Order Sealing Documents Filed by Cross-Defendant Amber Baptiste (Motion to Seal)

21     cam’e for hearing before this Court on January 5, 2023 at 2:00 p.m. Baptiste                    by Zoom
                                                                                    appeared
22     videoconference on her own behalf. Diane Doolittle and Kyle Batter appeared by Zoom videoconference                 '




23     on behalf of Goguen. Having considered all papers led            in support of and in opposition to the Motion to

24     Vacate and Motion to Seal, oral arguments of the parties, any testimony and evidence presented at the

25     hearing, and all other pleadings and papers on le          herein, the Court:
26              (1) DENIES the Motion to Vacate; and
27              (2) GRANTS IN PART and DENIES 1N PART the Motion to Seal.
28




                          ORDER RE MOTION TO VACATE AND MOTION TO SEAL                             —
                                                                                                       1
     Case 2:23-cv-02280-MEMF-SK Document 10-3 Filed 04/13/23 Page 97 of 107 Page ID
                                       #:2009



          I. MOTION TO VACATE
                In the Motion to Vacate, Baptiste moves to vacate the Final Judgment entered by the Court on

       January 24, 2020 (Judgment). She contends the Judgment should be vacated because of extrinsic aud.
       This contention lacks merit.
                A motion for new trial or to vacate a judgment must be led           and served “[w]ithin 15 days       of the
       date   of mailing notice of entry ofjudgment by the clerk of the court .       . .   or within 180 days aer     the

       entry ofjudgment, whichever is earliest.” (Code Civ. Proc., §§ 659, 663a; see also Code Civ. Proc., §
       473 [motion must be made “in no                six months[] alter the judgment, dismissal, order, or
                                       case exceeding
       proceeding was taken”].) “Aer           six months om     entry of default, a trial court may still vacate a default

lO     on equitable grounds even         if statutory relief is unavailable.” (Rappleyea v.   Campbell (1994)    8   Cal. 4th

ll     975, 981.) “To qualify for equitable relief on the ground of extrinsic fraud or mistake, the moving party
12     must demonstrate diligence in seeking to set aside the default once it was discovered.” (Manson, Iver &

13     York v. Black (2009) 176 Cal. App. 4th 36, 49.)

l4              Here, Baptiste f11ed the Motion to Vacate on October l3, 2022—more than two years and eight

15     months after the Notice        of Entry of Judgment was served on her. (See Feb.        10, 2020 Notice   of Entry of
l6     Judgment.) Her request for statutory relief is therefore untimely. Baptiste has also failed to demonstrate
l7     diligence in seeking to set aside the Judgment. Until the ling         of her Motion to Vacate, she made no
18     attempt to inform the Court about any threats or coercion or suggest that any act by Goguen coerced her
l9     into not appearing at trial. Moreover, she provided no explanation for her 32-month delay in ling                 the

20     Motion to Vacate. Finally, because the alleged threats and coercion must have occurred before the trial

21     began in October 2019, the threats and coercion could not have been discovered only recently. (See Pl.
22     MPA,     at p. 27   [“I just found out about the Complete Extrinsic fraud upon myself and the Court In recent
23     weeks”].) Her request for equitable relief is therefore also untimely and is denied solely on this ground.
24              In any event, Baptiste has not established grounds for equitable relief. According to Baptiste,

25     Goguen used “coercion, threats[,] solicitation of my murder[,] stalking, tampering with witnesses and
26     government ofcials,          [e]xtrinsic and intrinsic [f]raud” to “(block) me from participating in trial.” (Pl.
27     MPA,     at pp. 21   —
                                22.) In support, she cites to her declaration. As relevant to her claim of extrinsic aud,
28     her declaration states that she “was unable to present my case attrial due to death threats that [she]




                                ORDER RE MOTION TO VACATE AND MOTION TO SEAL                           —
                                                                                                           2
     Case 2:23-cv-02280-MEMF-SK Document 10-3 Filed 04/13/23 Page 98 of 107 Page ID
                                       #:2010



       would be killed,” “[t]hreats of my life being taken if [she] appeared at trial,” and “[s]evere illness at the

       time of trial.” (Baptiste Decl.,   11   3.) These statements, however, are too vague to support her claim of
       extrinsic aud.    Accordingly, she has not provided sufcient        evidence to support equitable relief.

                 Baptiste also takes issue with the terminating sanction that dismissed her complaint. (Pl. MPA, at

       pp. 26-27.) But that terminating sanction was issued through an order after a hearing before the

       discovery referee and was not decided at the trial. In any event, Baptiste provides no evidence or

       argument to support her contention that the order was procured through extrinsic aud           or mistake.

                 Finally, Baptiste’s request at the hearing for an opportunity to present additional evidence to
       support her Motion to Vacate is denied. Baptiste has already submitted over 1000 pages          of documents in
lO     support   of her Motion, and it is not clear what additional evidence she wishes to present. Indeed,        at the

ll     hearing, Baptiste did not identify, except in general terms, any additional evidence that she would like to
12     submit for the Court’s consideration. More notably, she did not identify any additional evidence that

l3     would explain her 32-month delay in bringing this Motion. Although Baptiste             has a right to
                                                                                   undoubtedly
l4     present her case in court, she must also follow the deadlines established by the law for doing so. She did

15     not comply with those deadlines here, and her inability to provide an adequate explanation for her

l6     failure to do so precludes the Court from granting her the relief that she requests.

l7             Accordingly, the Motion to Vacate is denied.
18        II. MOTION TO SEAL
l9               On October 21, 2022, the Court issued an order sealing Baptiste’s Motion to Vacate “until such

20     time that the Court rules upon Goguen’s” Motion to Seal. In that Motion, Goguen moves to seal the

21     Notice of Motion and Motion to Vacate Default and Default Judgment, including the Memorandum of

22     Points and Authorities in Support of Motion, and Declarations of Amber Baptiste, Nancy Kaiser Boyd,

23     and John Itamura, led     by Baptiste (collectively, Moving Papers). In support, Goguen contends the
24     Moving Papers contain disparaging and defamatory statements that the Court previously enjoined
25     Baptiste om      making. The Court agrees that many of the statements contained in Baptiste’s Moving
26     Papers were enjoined by the Court’s January 29, 2020 Restraining Order and nds            that Baptiste should

27     not be permitted to evade that Order by republishing those enjoined statements through her court lings.

28     Accordingly, to the extent statements in Baptiste’s Moving Papers are enjoined by the Court’s




                            ORDER RE MOTION TO VACATE AND MOTION TO SEAL - 3
     Case 2:23-cv-02280-MEMF-SK Document 10-3 Filed 04/13/23 Page 99 of 107 Page ID
                                       #:2011



       Restraining Order, the Court ndg     that:<(1) there exists an overriding interest that overcomes the right   of

       public access to the record; (2) the overriding interest supports sealing the record; (3) a substantial

       probability exists that the overriding interest will be prejudiced if the record is not sealed; and (4) no less
       restrictive means exist to achieve the overriding interest. (Cal. Rules of Court, rule 2.550.)

                The Court, however,   nds   that the proposed sealing is not sufciently   narrowly tailored. (Cal.
       Rules of Court, rule 2.550.) Although Baptiste’s Moving Papers are replete with statements that were

       enjoined by the Court’s Restraining Order, not every statement in those Papers is covered by that Order.
       To the extent statements made in the Moving Papers are not covered by the Restraining Order, they may
       not be sealed.

10              Accordingly, Goguen is ordered to     le   on or by February 6, 2023: (1) a redacted version   of
ll     Baptiste’s Moving Papers that will be made available to the public; and (2) a document or chart
12     explaining the basis for any portions of Baptiste’s Moving Papers to be sealed. The Moving Papers will
                                                                                                 i




l3     otherwise remain sealed.

l4                                                          ORDER
15              Based on the foregoing, IT IS   HEREBY ORDERED THAT:
l6         1.   The Motion to Vacate is DENIEDI

l7         2. The Motion to Seal is      GRANTED IN PART and DENIED IN PART. Goguen is ORDERED to
l8              le    on or by February
                                          6,2023:   (l) a redacted version of Baptiste’sMoving Papers that will be
l9              made available‘to the public; and (2) a document or chart explaining the basis for any portions      of
20              Baptiste’s Moving Papers to be sealed. Baptiste’s Moving Papers will otherwise remain
21              SEALED.
22

23

24     Dated:        jaun-   Q   207/3

25
                                                                        Danny Y. Chou
                                                                        Judge of the Superior Court
26

27

28




                             ORDER RE MOTION TO VACATE AND MOTION TO SEAL - 4
Case 2:23-cv-02280-MEMF-SK Document 10-3 Filed 04/13/23 Page 100 of 107 Page ID
                                  #:2012




                       Exhibit E
Case 2:23-cv-02280-MEMF-SK Document 10-3 Filed 04/13/23 Page 101 of 107 Page ID
                                  #:2013



    1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
       Diane M. Doolittle (Bar No. 142046)
      dianedoolittle@quinnemanuel.com
                                                                            2/14/2023
       Margret Caruso (Bar No. 243473)
    
       margretcaruso@quinnemanuel.com
     555 Twin Dolphin Drive, 5th Floor
      Redwood Shores, California 94065-2139
     Telephone: (650) 801-5000
      Facsimile:    (650) 801-5100
    
       John B. Quinn (Bar No. 90378)
    
       johnquinn@quinnemanuel.com
      Bruce E. Van Dalsem (Bar No. 124128)
       brucevandalsem@quinnemanuel.com
     865 S. Figueroa St., 10th Floor
      Los Angeles, California 90017-2543
    Telephone: (213) 443-3000
      Facsimile:    (213) 443-3100
   
    Attorneys for Cross-Complainant Michael Goguen
                      SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                      COUNTY OF SAN MATEO

   
    MICHAEL GOGUEN,                              CASE NO. CIV 537691

                  Cross-Complainant,             PROOF OF SERVICE

           vs.                                   [Signed Via Facsimile]
    AMBER LAUREL BAPTISTE; EVERY
      GIRL COUNTS, a California Corporation; and
    ROES 1 through 10, inclusive;
                  Cross-Defendants.

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   
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   


                                                                               PROOF OF SERVICE
Case 2:23-cv-02280-MEMF-SK Document 10-3 Filed 04/13/23 Page 102 of 107 Page ID
                                  #:2014



    1                                        PROOF OF SERVICE
    2        I am employed in the County of San Francisco, State of California. I am over the age of
      eighteen years and not a party to the within action; my business address is Quinn Emanuel
    3 Urquhart & Sullivan, LLP, 555 Twin Dolphin Drive, 5 th Floor, Redwood Shores, CA 94065.
    4
               On January 20, 2023, I served true copies of the following document(s) described as
    5
    6          1.      MICHAEL GOGUEN’S AMENDED NOTICE OF MOTION TO SEAL
                       PORTIONS OF REQUEST FOR RESTRAINING ORDER EXTENSION;
    7
               2.      NOTICE OF HEARING TO RENEW RESTRAINING ORDER (CH-710).
    8
    9
   10 on the interested parties in this action as follows:
   11
      Cross-Defendants Amber Baptiste and              Amber Baptiste
   12 Every Girl Counts                                8306 Wilshire Blvd., Ste. 2020
                                                       Beverly Hills, CA 90211
   13                                                  amberslawsuit2016@gmail.com
                                                       amberb8585@gmail.com
   14                                                  amberlitigate@gmail.com
                                                       justiceandpeaceforamber@gmail.com
   15
                                                       Cross-Defendant Amber Baptiste
   16                                                  Pro per
                                                       Cross-Defendant Every Girl Counts
   17                                                  CEO Amber Baptiste
   18
   19
   20
   21
   22
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                                                        -1-
                                                                                     PROOF OF SERVICE
Case 2:23-cv-02280-MEMF-SK Document 10-3 Filed 04/13/23 Page 103 of 107 Page ID
                                  #:2015



    1
        Je Ne Se Que Enterprises LLC                Je Ne Se Que Enterprises LLC
    2                                               c/o LegalZoom.com, Inc.
                                                    101 North Brand Blvd. 11th Floor
    3                                               Glendale, CA 91203
    4
                                                    Alter Ego Je Ne Se Que Enterprises LLC
    5
    6
      X      BY EMAIL: I caused such documents to be personally transmitted to the person at the
    7 email addresses set forth above.
    8
              Executed on January 20, 2023 at San Francisco, California.
    9
   10
   11                                                 /s/ Kyle Batter
   12                                                 Kyle Batter
   13
   14
   15
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                                                     -2-
                                                                                  PROOF OF SERVICE
Case 2:23-cv-02280-MEMF-SK Document 10-3 Filed 04/13/23 Page 104 of 107 Page ID
                                  #:2016




                        Exhibit F
    Case 2:23-cv-02280-MEMF-SK Document 10-3 Filed 04/13/23 Page 105 of 107 Page ID
                                      #:2017




‐‐‐‐‐‐‐‐ Original message ‐‐‐‐‐‐‐‐
From: Amber B <amberlitigate@gmail.com>
Date: 4/5/23 2:11 AM (GMT‐08:00)
To: John Quinn <johnquinn@quinnemanuel.com>, Diane Doolittle <dianedoolittle@quinnemanuel.com>, Bruce Van
Dalsem <brucevandalsem@quinnemanuel.com>, Kyle Batter <kylebatter@quinnemanuel.com>, marosati@wsgr.com,
cbaybay@goodwinlaw.com, lsonsini@wsgr.com, greg@bcllplaw.com, rlatta@wsgr.com, gchacon@goodwinlaw.com,
moritz@sequoiacap.com, Sarah Cork <sarahcork@quinnemanuel.com>, bchase@bisnarchase.com,
info@twobearcapital.com, mike_sitrick@sitrick.com, wmc@sequoiacap.com, mrosati@wsgr.com,
assistant@shermanlawgroup.com, jdankert@bc‐llp.com, jcole@nemecek‐cole.com, goetz@sequoiacap.com,
mcole@nemecek‐cole.com, lcunningham@wsgr.com, William Price <williamprice@quinnemanuel.com>,
leone@sequoiacap.com, early‐rb@sequoiacap.com, mfeenberg@nemecek‐cole.com, mschaeffer@nemecek‐cole.com,
fnemecek@nemecek‐cole.com, abrown@daydayandbrown.com, justiceandpeaceforamber@gmail.com,
jscott@nemecek‐cole.com, Kathleen Sullivan <kathleensullivan@quinnemanuel.com>, amccusker@goodwinlaw.com,
mbarr@goodwinlaw.com, Michael Lifrak <michaellifrak@quinnemanuel.com>, mmccarthy@nemecek‐cole.com
Subject: Depositions and Defendants Interested parties




                                [EXTERNAL EMAIL from amberlitigate@gmail.com]



                                                      1
     Case 2:23-cv-02280-MEMF-SK Document 10-3 Filed 04/13/23 Page 106 of 107 Page ID
                                       #:2018
This is the rest of the known Defendants by name the rest of the names will be listed upon My internationally protected
status being granted

These names were on the complaint when it converted to a word document something happened.

 I will ask a volunteer to fix it. I am going to ask law students to volunteer because clearly there are zero lawyers in any
firm that can be trusted with this matter.

 I am going to interview a volunteer deposition specialist to depose Diane Doolittle. I am not sitting in a room with her. I
am not a masochist. All of the questions and exhibits are prepared.

I am taking all of the other depositions when I can. Your Deposition notices will be served next week. You have no option
as to dates as there are hundreds of depositions to be taken.

I have made dozens of requests with redundancy for dates for the depositions and no response yet the lawyers are
always filing motions to have more hours of deposition time with me. And I was told I only had to go for 8 hours on the
record

I do not know what questions you could actually need to ask me. It's very self explanatory.

 I am not going to any more depositions where I have to sit in the room with the predator and Diane doolittle and their
supreme Folie A Deux. The government can ask me questions. I am not going to any more depositions.

You are paying for your own stenographers and videographers as you decided I don't need any money for medical
treatment or shelter.

You are not by law allowed to refuse to serve me nor to refuse to meet and confer as everyone decided I don't need legal
representation.

I am preparing complaints against everyone in Canada, England, France, Japan, China and the other countries I was
trafficked to.

I need to know how many hours everyone will be cross examining Diane Doolittle for in her deposition so I can create a
long enough deposition which will continue for at least 5 days
And I will research whether I can sue the Ivy League University who educated her because clearly they need a better
ethics program.

I will answer questions on the witness stand. I am not going to be trapped in any building with murderers, rapists or any
cruel and inhumane lawyers that merely want to continue to exploit me. I will answer reasonable written discovery
pertaining to the issues at hand not millions of questions about did the cork pop when Goguen Poured the champange
that he drugged to rape me. Questions like is rape distressing is litigation distressing are self explanatory. It is evident that
one person with no law degree and a very compromised state of health and danger can not answer frivolous questions.

I am not participating in deposing the traffickers The Gang

That is Quinn Emanuel's fault in totality The city official explicitly told them they are aware of their involvement and the
second city official in another city explicitly told Quinn Emanuel that since the time Amber was trafficked they have
instituted a one month mandatory program that the girls have to take before working so they understand Human
Trafficking. The problem was identified shortly after Amb'er paid her debt and ran away from indentured servitude.

All of the Lawyers and Judges who have profited by enriching themselves off of the avails of Ambers Human trafficking
have already been made aware that they are the true prostitutes in this case by prostituting their law degrees for blood
money.

Vox media
New Your Magazine
The New York Post
The Wall street Journal
Global Legal Chronicle
Linkedin
National post
                                                                2
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                                      #:2019
Daily Mail
Rupert Murdock
The Daily Beast
Donald Trump
National Post
Michael Bloomberg
Vox media
New Your Magazine
The New York Post
The Wall Street Journal
Global Legal Chronicle
Estate of David Flechheimer
Chris Reynolds
Estate of Jeffery Epstein
Linkedin
National post
The Daily Mail
Rupert Murdock
The Daily Beast
The Mirror
Donald Trump
National Post
Michael Bloomberg
Bloomberg Media
Harvey Weinstein
Blomberg companies
Spotify
MSN
MLB association PGA Golfers
Cattle barons
Oil Barons
Stock Brokers
Hedge Fund Men
Record Producers
Police that took bribes
Police that looked at Amber naked as a teenager
The US military, The US Navy and whomever else the government buses dropped off at the strip club in their Military
and Navy uniforms.
All individuals whose names I can recall will be named as defendants I reserve the right to add all of them and the
additional causes of action

You are to preserve all evidence.
Sequoia Capital has all evidence Of Goguen, Doolittle, Quinn Emanuel and Goodwin Procter's Malice on their server.




                                                          3
